       Case 1:21-cv-02887-LLA          Document 83        Filed 03/07/25      Page 1 of 27




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 GIFFORDS,

 Plaintiff,

                v.                                 Case No. 1:21-cv-2887-LLA

 NATIONAL RIFLE ASSOCIATION OF
 AMERICA POLITICAL VICTORY FUND,                   Defendant Josh Hawley for Senate’s
 et al.                                            Motion to Dismiss

 Defendants.


        Pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6), Defendant Josh

Hawley for Senate, by and through undersigned counsel, hereby moves to dismiss Plaintiff’s

Complaint in the above-captioned matter. Plaintiff’s Complaint should be dismissed because

Plaintiff lacks Article III standing to maintain this lawsuit and because Plaintiff fails to state a

claim. A supporting memorandum of points and authorities and a proposed order accompany this

motion.

                                              Respectfully submitted,


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      Case 1:21-cv-02887-LLA       Document 83       Filed 03/07/25     Page 2 of 27




                              CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing was served to all

counsel of record through the Court’s CM/ECF system on March 7, 2025.



      /s/ Jason Torchinsky




                                            1
      Case 1:21-cv-02887-LLA   Document 83   Filed 03/07/25   Page 3 of 27




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

GIFFORDS,

Plaintiff,

              v.                       Case No. 1:21-cv-2887-LLA

NATIONAL RIFLE ASSOCIATION OF
AMERICA POLITICAL VICTORY FUND,
et al.

Defendants.


MEMORANDUM IN SUPPORT OF DEFENDANT JOSH HAWLEY FOR SENATE’S
         MOTION TO DISMISS PLAINTIFF’S COMPLAINT
           Case 1:21-cv-02887-LLA                           Document 83                 Filed 03/07/25               Page 4 of 27




                                                        TABLE OF CONTENTS

TABLE OF CONTENTS ................................................................................................................ ii
TABLE OF AUTHORITIES ......................................................................................................... iii
INTRODUCTION .......................................................................................................................... 1
BACKGROUND ............................................................................................................................ 1
ARGUMENT .................................................................................................................................. 4
   I.         PLAINTIFF LACKS STANDING TO BRING ITS CLAIMS AGAINST JOSH
              HAWLEY FOR SENATE. ................................................................................................. 4
   II.        THE FEC ACTED IN THIS CASE, RENDERING THIS CITIZEN SUIT VOID AB
              INITIO. ............................................................................................................................. 10
         A. Statutory and FEC Voting Background ........................................................................ 11
         B.      The D.C. Circuit’s Decisions in 45Committee and Heritage Action ............................ 14
         C.      Application of 45Committee To This Case ................................................................... 16
CONCLUSION ............................................................................................................................. 18
CERTIFICATE OF SERVICE ..................................................................................................... 20




                                                                           ii
          Case 1:21-cv-02887-LLA                       Document 83               Filed 03/07/25              Page 5 of 27




                                               TABLE OF AUTHORITIES


Cases                                                                                                                           Page(s)
All. for Democracy v. FEC,
  362 F. Supp. 2d 138 (D.D.C. 2005) ...........................................................................................10
Campaign Legal Ctr. & Democracy 21 v. FEC ,
 952 F.3d 352 (D.C. Cir. 2020) ...................................................................................................10
Campaign Legal Ctr. v. 45Committee, Inc.,
 118 F.4th 378 (D.C. Cir. 2024) ....................................................................................1, 4, 14, 15
Campaign Legal Ctr. v. 45Committee, Inc.,
 666 F. Supp. 3d 1 (D.D.C. 2023) .........................................................................................15, 16
Campaign Legal Ctr. v. FEC,
 507 F. Supp. 3d 79 (D.D.C. 2020) .............................................................................................10
Campaign Legal Ctr. v. Heritage Action for Am.,
 No. 23-7107, 2025 U.S. App. LEXIS 1069 (D.C. Cir. Jan. 15, 2025) ......................................18
Chatman v. U.S. DOD,
 270 F. Supp. 3d 184 (D.D.C. 2017) ...........................................................................................11
Common Cause v. FEC,
 108 F.3d 413 (D.C. Cir. 1997) .................................................................................................4, 5
Crossroads Grassroots Policy Strategies v. FEC,
 788 F.3d 312 (D.C. Cir. 2015) ...................................................................................................13
FDA v. All. for Hippocratic Med.,
 602 U.S. 367 (2024) .................................................................................................................8, 9
FEC v. Akins,
 524 U.S. 11 (1998) .......................................................................................................................9
Friends of the Earth, Inc. v. Laidlaw Env't Servs. (TOC), Inc.,
 528 U.S. 167 (2000) .....................................................................................................................5
Gottlieb v. FEC,
 143 F.3d 618 (D.C. Cir. 1998) .................................................................................................6, 7
Heritage Action for Am. v. FEC,
 682 F. Supp. 3d 62 (D.D.C. 2023) .............................................................................................14
In re Sealed Case,
  223 F.3d 775 (D.C. Cir. 2000) ...................................................................................................12




                                                                    iii
          Case 1:21-cv-02887-LLA                        Document 83               Filed 03/07/25              Page 6 of 27




Nader v. FEC,
 725 F.3d 226 (D.C. Cir. 2013) .....................................................................................................7
Pub. Citizen, Inc. v. FERC,
 839 F.3d 1165 (D.C. Cir. 2016) .................................................................................................13
Shays v. FEC,
  414 F.3d 76 (D.C. Cir. 2005) .......................................................................................................6
Strumsky v. Wash. Post Co.,
  842 F. Supp. 2d 215 (D.D.C. 2012) ...........................................................................................11
TransUnion L.L.C. v. Ramirez,
 594 U.S. 413 (2021) .....................................................................................................................4
United States ex rel. Scott v. Pac. Architects & Eng’rs (PAE), Inc. ,
 270 F. Supp. 3d 146 (D.D.C. 2017) ...........................................................................................11
Statutes
52 U.S.C. § 30106 .........................................................................................................................12
52 U.S.C. § 30109 ...........................................................................1, 2, 3, 4, 10, 11, 12, 13, 16, 17
52 U.S.C. § 30116 ...........................................................................................................................4
52 U.S.C. § 30118 ...........................................................................................................................7
Other
11 C.F.R. § 109.21 ..........................................................................................................................4
11 C.F.R. § 111.7 ..........................................................................................................................13
11 C.F.R. § 111.9 ..........................................................................................................................13
26 C.F.R. §§ 1.501 -1(a) .................................................................................................................7




                                                                     iv
       Case 1:21-cv-02887-LLA           Document 83         Filed 03/07/25      Page 7 of 27




                                        INTRODUCTION

        Plaintiff’s Amended Complaint should be dismissed for two alternative reasons. First,

Plaintiff’s Amended Complaint should be dismissed without prejudice for lack of standing.

Plaintiff attempts to invent what can only be described as third-party political competitor

organizational standing, in which (1) a nonprofit organization that is not a candidate committee

(2) must divert resources (3) to its sister PAC organization (4) to give contributions to its supported

candidate committees (5) for the purpose of helping those candidates defeat other candidates (6)

that are advantaged through allegedly illegal conduct (7) that the FEC refuses to prosecute. There

is simply no basis for this.

        Alternatively, because the Federal Election Commission acted in the underlying matter in

conformance with the district court’s order, as established by the holding of Campaign Legal Ctr.

v. 45Committee, Inc., 118 F.4th 378, 380 (D.C. Cir. 2024), Plaintiff’s claim fails as a matter of

law. See 52 U.S.C. § 30109(a)(8)(A), (C). It should therefore be dismissed with prejudice on that

ground.

        For these reasons, this Court should grant Defendant Josh Hawley for Senate’s Motion to

Dismiss.

                                         BACKGROUND

        The Court’s unredacted Memorandum Opinion of October 14, 2021, sets forth the timeline

of FEC action in the underlying administrative complaints. Plaintiff Giffords, along with the

Campaign Legal Center, filed four administrative complaints (MURs 7427, 7497, 7524, and 7553)

from July 16, 2018 to December 7, 2018. Mem. Op., Giffords v. FEC, No. 1:19-cv-1192 (D.D.C.

Oct. 14, 2021), ECF No. 88 at 5 (the “Oct. 14th Mem. Op.”). These “administrative complaints

each alleged that two National Rifle Association of America (‘NRA’) entities, the NRA Political




                                                  1
       Case 1:21-cv-02887-LLA          Document 83        Filed 03/07/25      Page 8 of 27




Victory Fund (‘NRA-PVF’) and the NRA Institute for Legislative Action (‘NRA-ILA’), made

unlawful contributions to then President Trump’s presidential campaign and to several Senate

campaigns.” Id. at 6. The FEC received written responses from the targets of the four complaints

from September 2018 to February 2019. Id. at 7. The FEC’s General Counsel submitted its First

General Counsel’s Report to the Commissioners on May 10, 2019. Id. at 8. This document “made

specific recommendations in each of the four MURs addressed, including whether the Commission

should find reason to believe violations of FECA had occurred and what if any further actions

should be taken.” Id. The General Counsel’s recommendations were scheduled for consideration

in executive session on July 9, 2019. However, on July 8, 2019, one Commissioner recused

himself, depriving the FEC of a four-vote quorum to consider the complaints. Id. at 8–9. Except

for a one-month period in mid-2020, the FEC was without a quorum until December 2020. Id. at

9.

       During January and February 2021, the Commissioners cast multiple votes on the question

of whether there was reason to believe a violation of FECA occurred in the underlying

administrative complaints. The Commissioners first considered the administrative complaints on

January 26, 2021, and voted on a motion to find reason to believe a violation occurred in MURs

7427 and 7497 on February 9, 2021. This motion failed on a 2-3 vote. Id. On February 23, 2021,

“the FEC held a series of votes related to the four administrative matters.” Id. “By a vote of 3-2,

the FEC failed to find reason to believe violations occurred. […] By a vote of 2-3, the FEC also

failed to find no reason to believe violations occurred.” Id. “And by a vote of 2-3, the FEC rejected

a motion to close the enforcement matters.” Id. at 9–10. Despite being deadlocked and lacking the

votes to pursue the complaints further, the failed 2-3 vote to “close the file” in the enforcement




                                                 2
        Case 1:21-cv-02887-LLA               Document 83          Filed 03/07/25         Page 9 of 27




matters left the complaints in administrative limbo, and neither the Plaintiffs nor the subjects of

the administrative complaints were notified of the FEC’s votes.

        On April 24, 2019, Plaintiff in the related lawsuit filed a complaint against the FEC on the

grounds that it was “aggrieved” by the FEC’s alleged failure to act on its administrative complaints

within the above-referenced 120-day period. The district court issued the following order on

September 30, 2021: “ORDERED that, pursuant to 52 U.S.C. § 30109(a)(8)(C), Defendant [FEC]

conform to this Order within 30 days of the entry of this Order by making the reason-to-believe

determination set forth in 52 U.S.C. § 30109(a)(2).” Order, Giffords v. FEC, No. 1:19-cv-1192

(D.D.C. Sept. 30, 2021), ECF No. 71.

        The FEC had, in fact, already held multiple votes on “making the reason-to-believe

determination” months prior, along with the vote to close the file. Still, within 30 days of the

above-referenced order, on October 26, 2021, the FEC considered the complaints again and held

another vote to “close the file” in MURs 7427, 7497, 7524, 7553, and 7621. This vote failed by a

vote of 2-3.1 Also on October 26, 2021, the Commissioners who previously voted to find “no

reason to believe,” and who had repeatedly voted to close the file, submitted a statement of reasons

for the administrative record, and that statement of reasons was released publicly on December 23,

2021.

        The district court in Giffords v. FEC authorized the filing of a “citizen suit” pursuant to 52

U.S.C. § 30109(a)(8)(C) on November 1, 2021, notwithstanding the evidence before the court of

the FEC’s votes on motions to find reason to believe and to close the file, both before the court

issued the order to conform of September 30, 2021, and within 30 days of that order. Subsequent



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  On January 11, 2022, the FEC held another vote to “close the file” in MURs 7427, 7497, 7524, and 7553; this vote
failed 2-3. Finally, on August 29, 2022, following the nomination and confirmation of a new Commissioner, the FEC
voted 4-1 to close the file and the FEC’s administrative proceedings were formally closed.


                                                        3
        Case 1:21-cv-02887-LLA         Document 83        Filed 03/07/25      Page 10 of 27




decisions of this court and the D.C. Circuit, however, clarify that the FEC did not “fail to act” for

purposes of Section 30109(a)(8)(A), and the FEC’s vote of October 26, 2021, constituted

conformance with the court’s order of September 30, 2021.

        Plaintiff filed its original complaint in this citizen suit on November 2, 2021, suing

Defendant Josh Hawley for Senate and the other Defendants, alleging that Hawley for Senate

accepted excessive in-kind contributions in 2018 in violation of 52 U.S.C § 30116(a)(2)(A) and

failed to report contributions in 2018 in violation of 52 U.S.C § 30104(b)(4), 11 C.F.R. § 109.21(b).

The Defendants moved to dismiss. The case was reassigned and subsequently stayed on February

13, 2024 “pending resolution of Campaign Legal Center v. 45Committee, Inc., D.C. Cir. No. 23-

7040.” On October 8, 2024, the D.C. Circuit issued its opinion. Campaign Legal Ctr. v.

45Committee, Inc., 118 F.4th 378 (D.C. Cir. 2024). On December 17, 2024, the Court lifted the

stay in this case, denied the motions to dismiss without prejudice to new briefing, and ordered new

briefing “[i]n light of Campaign Legal Center v. 45Committee, Inc., 118 F.4th 378 (D.C. Cir.

2024), and other legal developments since the filings of the original motions to dismiss.”

Subsequently, Plaintiff filed an Amended Complaint within the new schedule, and Defendant now

files this new motion to dismiss.

                                          ARGUMENT

   I.      PLAINTIFF LACKS STANDING TO BRING ITS CLAIMS AGAINST JOSH
           HAWLEY FOR SENATE.

        The Federal Election Campaign Act of 1971, as amended (“FECA”) is an Act of Congress

and cannot itself grant Article III standing. See Common Cause v. FEC, 108 F.3d 413, 419 (D.C.

Cir. 1997) (“Section [30109(a)(8)(A)] does not confer standing; it confers a right to sue upon

parties who otherwise already have standing.”); TransUnion LLC v. Ramirez, 594 U.S. 413, 426

(2021) (“Congress’s creation of a statutory prohibition or obligation and a cause of action does not



                                                 4
      Case 1:21-cv-02887-LLA           Document 83         Filed 03/07/25      Page 11 of 27




relieve courts of their responsibility to independently decide whether a plaintiff has suffered a

concrete harm under Article III.”). Plaintiff fails to establish such standing for itself here, instead

asserting injuries of other nonparties and relying on misapplications of political competitor and

organizational standing theories.

       The familiar requirements are: “an ‘injury in fact’ that is (a) concrete and particularized

and (b) actual or imminent, not conjectural or hypothetical; (2) the injury is fairly traceable to the

challenged action of the defendant; and (3) it is likely, as opposed to merely speculative, that the

injury will be redressed by a favorable decision.” Friends of the Earth, Inc. v. Laidlaw Envtl. Servs.

(TOC), Inc., 528 U.S. 167, 180–81 (2000) (citing Lujan v. Defenders of Wildlife, 504 U.S. 555,

560–61 (1992)). Additionally, “[i]n those cases where ‘a plaintiff’s asserted injury arises from the

government’s allegedly unlawful regulation (or lack of regulation) of someone else’ it is

substantially more difficult to establish injury in fact.” Common Cause, 108 F.3d at 417 (quoting

Lujan, 504 U.S. at 562).

       Plaintiff’s theory in the Amended Complaint is that it “opposed” Josh Hawley and engaged

in “spending” that “was in direct political opposition” to Josh Hawley for Senate. ECF No. 81 at

8. Plaintiff alleges it “has engaged and continues to engage in legislative advocacy for positions

each of the beneficiaries of the NRA, including Matt Rosendale and Josh Hawley, have opposed

while in office.” ECF No. 81 at 10. Finally, Plaintiff alleges it “intends to oppose future campaigns

of candidates across the country, like Rosendale and Hawley, who oppose Giffords’s gun safety

platform[,]” and “[t]he competitive fundraising advantage that the Rosendale Campaign and

Hawley Campaign enjoy over the candidates supported by Giffords as a result of the illegal

contributions from the NRA forces Giffords to spend additional resources countering its

opponents’ illegally raised funds.” ECF No. 81 at 12.




                                                  5
      Case 1:21-cv-02887-LLA          Document 83        Filed 03/07/25      Page 12 of 27




       In other words, Plaintiff invokes a genre of a political competitor theory, though not one

any court has recognized. Legally cognizable political competitor standing can exist in theory, see

Shays v. FEC, 414 F.3d 76 (D.C. Cir. 2005), but that’s not what this is.

       In Shays, the D.C. Circuit held that when candidates seeking reelection would face actual

electoral disadvantages as a result of the Commission’s implementing regulations, the candidates

had political competitor standing to challenge the regulations. Id. at 85. Specifically, the Article

III was the “illegal structuring of a competitive environment” by the defendant FEC. Id. That

standing obtains only when a plaintiff can “show that he personally competes in the same arena

with the same party to whom the government has bestowed the assertedly illegal benefit.” Gottlieb

v. FEC, 143 F.3d 618, 621 (D.C. Cir. 1998) (quoting In re U.S. Catholic Conf., 885 F.2d 1020,

1029 (2d Cir. 1989)). In Shays, the D.C. Circuit concluded its precedent “embod[ies] a principle

that supports [candidates’] standing: that when regulations illegally structure a competitive

environment—whether an agency proceeding, a market, or a reelection race—parties defending

concrete interests (e.g., retention of elected office) in that environment suffer legal harm under

Article III.” 414 F.3d at 87.

       But, first off, Plaintiff is not challenging the FEC’s implementation of a regulation. Rather,

Plaintiff is challenging the FEC’s prosecutorial discretion in not punishing alleged relationships

between various entities. No precedent supports the notion that a failure to prosecute entity

relationships can create political competitor injury. To the contrary, Shays concerned when the

defendants illegally structure the environment, e.g., “when agencies adopt procedures inconsistent

with statutory guarantees.” Id. at 85. The caselaw cuts against Plaintiff’s suggested approach. In

this circuit, plaintiffs challenging an FEC dismissal cannot establish standing solely on the theory

that a plaintiff is “forced to compete” in an “illegally structured campaign environment” because




                                                 6
      Case 1:21-cv-02887-LLA            Document 83        Filed 03/07/25       Page 13 of 27




opponents are flouting election laws without suffering any consequences from the FEC. See Nader

v. FEC, 725 F.3d 226, 228 (D.C. Cir. 2013). Similarly, Plaintiff wishes to say it has standing

because the failure to prosecute forces it to divert resources.

          In any case, Plaintiff remains no “competitor” for reelection and therefore has no

cognizable Article III interest. It is a nonprofit that plays in the political sandbox with many other

entities. But it is no candidate committee. It does not compete for the same resources as any

defendant. Plaintiff does not compete for profit with any defendant. Rather, Plaintiff is “a

nonpartisan, nonprofit 501(c)(4) organization . . . that is dedicated to saving lives from gun

violence.” ECF No. 81 at 5. Plaintiff obviously views itself subjectively as in the “arena” with the

entities it listed as Defendants, but that is not the controlling standard. Plaintiff must show that it

itself “competes in the same arena with the same party to whom the government has bestowed the

assertedly illegal benefit.” Gottlieb, 143 F.3d at 621. Plaintiff instead asserts a genre of third-party

standing, stating that it “made a $5,000 contribution to Hawley’s opponent Claire McCaskill.”

ECF No. 81 at 8. In other words, since Plaintiff supports the actual competitor in the arena—

Democrat candidate campaigns—standing that Claire McCaskill’s campaign might have had

should reverberate back onto Plaintiff. Plaintiff adduces no support for such a theory because it

cannot.

          As it concerns Defendant Josh Hawley for Senate, this point is only strengthened by the

fact that Plaintiff is a 501(c)(4), which means it legally is prohibited from operating primarily to

participate or intervene in political campaigns on behalf of or in opposition to any candidate, nor

can it directly contribute to candidates for federal office. 26 C.F.R. § 1.501(c)(4)-1(a)(2)(i); 52

U.S.C. § 30118(a). Plaintiff simply cannot all at the same time be (1) a competitor to Defendant

Josh Hawley for Senate; (2) a nonpartisan organization; and (3) legally operating as a 501(c)(4).




                                                   7
       Case 1:21-cv-02887-LLA           Document 83        Filed 03/07/25      Page 14 of 27




          Third-party standing is always a hard route. That sort of standing is reserved for a “narrow

class of litigants to assert the legal rights of others.” FDA v. All. for Hippocratic Med., 602 U.S.

367, 393 n.5 (2024). But even when the Supreme Court has “allowed litigants to assert the interests

of others, the litigants themselves still must have suffered an injury in fact, thus giving them a

sufficiently concrete interest in the outcome of the issue in dispute.” Id. Accordingly, Plaintiff

must show an injury of its own. It does not, instead stating that the candidates Plaintiff supports

will suffer due to the allegedly illegal practices.

          Layered onto Plaintiff’s tenuous theory is yet another problem: organizational standing.

The Supreme Court is more skeptical of organizational standing than individual standing. See

generally FDA v. Alliance for Hippocratic Med., 602 U.S. 367 (2024). There, this Court rejected

a general theory that “standing exists when an organization diverts its resources in response to a

defendant’s actions”; but that diversion of resources can only constitute an injury when a

defendant’s actions “directly affected and interfered with [plaintiff’s] core business activities.” Id.

at 395.

          Here, Plaintiff seeks refuge within the diversion theory. See ECF No. 81 at 12 (“The

competitive fundraising advantage…forces Giffords to spend additional resources countering its

opponents’ illegally raised funds.”). Yet Plaintiff’s “core business activities” are not, as it

inappropriately implies in Paragraphs 41-42, diverting funds to support certain candidates or

oppose other candidates. Per FDA, a plaintiff must allege a “similar impediment to the [Plaintiff’s]

advocacy businesses.” Id. at 395. Plaintiff’s core activities are advocating for gun safety. Nothing

the Defendants are doing “directly affect[s]” or “interfere[]s” with Plaintiff’s core advocacy work.

Rather, the alleged illegal coordination arguably causes a competitor injury to other

organizations—candidate committees that ostensibly work to support candidates that would likely




                                                      8
      Case 1:21-cv-02887-LLA           Document 83         Filed 03/07/25      Page 15 of 27




pursue policies Plaintiff advocates for. That is simply too attenuated under current standing law.

All Plaintiff alleges is resource diversion to counter the alleged illegal money. But that theory

would allow Plaintiff (and any other nonprofit advocacy organization) to sue any candidate in this

context whose opponent Plaintiff supports, provided Plaintiff spends a single dollar contributing

to the other opponent. See FDA, 602 U.S. at 395 (“[T]hat theory would mean that all the

organizations in America would have standing to challenge almost every federal policy that they

dislike, provided they spend a single dollar opposing those policies.”).

       In short, Plaintiff’s third-party political competitor organizational standing theory fails.

They cannot establish any of the three parts of that, not to mention all three at the same time. For

that reason alone, this Court could dismiss without prejudice.

       “Informational standing” also does not establish standing. Under this theory, which like

the third-party political competitor organizational standing does not lack for inventiveness,

Plaintiff alleges it “uses information from FEC filing in content for its website, reports, blog posts,

and social media[,]” and “[t]he failure of the…Hawley Campaign…to timely file required forms

and disclosure reports deprives Giffords of information necessary to fulfill its mission and

programmatic goals.” ECF No. 81 at 14. But as an organization Plaintiff “must show ‘far more

than simply a setback to the organization’s abstract social interests.’” FDA, 602 U.S. at 394

(quoting Havens Realty Corp. v. Coleman, 455 U.S. 363, 373 (1982)). By its own pleadings,

Giffords’ alleged informational injury is a setback to its interests. Plaintiff wants to know things.

That alone is not standing.

       Plaintiff seeks either (i) legal determinations that previously disclosed transactions were

unlawful, or (ii) information about relationships between entities for which no disclosure is

statutorily required. But such theories have already been rejected in the FECA context. See FEC




                                                  9
         Case 1:21-cv-02887-LLA        Document 83         Filed 03/07/25      Page 16 of 27




v. Akins, 524 U.S. 11, 21 (1998) (A plaintiff suffers an informational injury only when it “fails to

obtain information which must be publicly disclosed pursuant to a statute.”); Campaign Legal Ctr.

& Democracy 21 v. FEC (“CLC & Democracy 21 (2020)”) 952 F.3d 352, 356 (D.C. Cir. 2020)

(per curiam) (“The law is settled that a denial of access to information qualifies as an injury in fact

where a statute (on the claimants’ reading) requires that the information be publicly disclosed and

there is no reason to doubt their claim that the information would help them.”).

         Plaintiff does not seek new information about Josh Hawley for Senate. “[A] plaintiff lacks

a cognizable informational injury where the information she seeks ‘is already required to be

disclosed’ elsewhere and, pursuant to that obligation, ‘reported in some form.’”. Campaign Legal

Center. v. FEC, 507 F. Supp. 3d 79, 84 (D.D.C. 2020) (“CLC 2020”) (quoting Wertheimer v. FEC,

268 F.3d 1070, 1074–75 (D.C. Cir. 2001)). If “the plaintiffs already have access to ‘everything

they are entitled to under the FECA,’ their alleged ‘informational injury’ is not cognizable injury

under the FECA, sufficient to satisfy the standing requirement.” All. for Democracy v. FEC, 362

F. Supp. 2d 138, 148–49 (D.D.C. 2005) (internal citations omitted). Plaintiff has failed to allege

any facts that it seeks new information about the committee that is not already required to be

disclosed and reported in some form elsewhere. Plaintiff seeks only legal determinations or

information not required to be disclosed under FECA. The spending at issue has already been

disclosed; Plaintiff simply wants the FEC to declare it “coordinated” and therefore determine that

Defendants violated the law. Dismissal is warranted on that basis because it has not experienced

informational injury granting it standing against Defendant Josh Hawley for Senate.

   II.      THE FEC ACTED IN THIS CASE, RENDERING THIS CITIZEN SUIT VOID
            AB INITIO.

         Plaintiff’s claim revolves around either of two questions: (1) whether the FEC “failed to

act” for purposes of 52 U.S.C. § 30109(a)(8)(A); and/or (2) whether the FEC conformed with the



                                                  10
       Case 1:21-cv-02887-LLA            Document 83         Filed 03/07/25       Page 17 of 27




district court’s order of September 30, 2021, for purposes of 52 U.S.C. § 30109(a)(8)(C). If the

FEC “acted” in the first instance, and/or conformed with the court’s order, then the statutory

preconditions for filing a citizen suit under FECA are not satisfied and this case must be dismissed.

        Dismissal under Federal Rule of Civil Procedure 12(b)(6) is “appropriate when a complaint

fails ‘to state a claim upon which relief can be granted.’” Strumsky v. Wash. Post Co., 842 F. Supp.

2d 215, 217 (D.D.C. 2012) (quoting Fed. R. Civ. P. 12(b)(6)). “[A] complaint must contain

sufficient factual allegations that, if accepted as true, ‘state a claim to relief that is plausible on its

face.’” United States ex rel. Scott v. Pac. Architects & Eng’rs, Inc., 270 F. Supp. 3d 146, 152

(D.D.C. 2017) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “‘A claim has

facial plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.’” Id. (quoting Iqbal,

556 U.S. at 678). Though the Court “must liberally construe the complaint in favor of the plaintiff

and must grant the plaintiff ‘the benefit of all inferences that can be derived from the facts alleged,’

. . . a court need not ‘accept as true a legal conclusion couched as a factual allegation.’” Chatman

v. U.S. Dep’t of Def., 270 F. Supp. 3d 184, 188 (D.D.C. 2017) (quoting Abdelfattah v. U.S. Dep’t

of Homeland Sec., 787 F.3d 524, 529, 530 (D.C. Cir. 2015)).

        A. Statutory and FEC Voting Background

        FECA authorizes an administrative complainant to seek judicial review of alleged FEC

inaction on an enforcement complaint in narrow, carefully prescribed circumstances. Under 52

U.S.C. § 30109(a)(8)(A), “[a]ny party aggrieved by an order of the Commission dismissing a

complaint filed by such party under paragraph (1), or by a failure of the Commission to act on such

complaint during the 120-day period beginning on the date the complaint is filed, may file a

petition with the United States District Court for the District of Columbia.” Next, FECA provides




                                                    11
      Case 1:21-cv-02887-LLA           Document 83         Filed 03/07/25      Page 18 of 27




that “[i]n any proceeding under this paragraph the court may declare that the dismissal of the

complaint or the failure to act is contrary to law, and may direct the Commission to conform with

such declaration within 30 days, failing which the complainant may bring, in the name of such

complainant, a civil action to remedy the violation involved in the original complaint.” Id.

§ 30109(a)(8)(C). In the present litigation, the Plaintiff brought such an action challenging the

FEC’s alleged failure to act.

       As the D.C. Circuit has explained, “Congress vested enforcement power in the FEC,

carefully establishing rules that tend to preclude coercive Commission action in a partisan

situation, where the Commission, itself statutorily balanced between the major parties … is evenly

split.” In re Sealed Case, 223 F.3d 775, 780 (D.C. Cir. 2000). The FEC is comprised of six

Commissioners and “[n]o more than 3 members of the Commission … may be affiliated with the

same political party.” 52 U.S.C. § 30106(a)(1). FECA provides that “[a]ll decisions of the

Commission with respect to the exercise of its duties and powers under the provisions of this Act

shall be made by a majority vote of the members of the Commission” and specifies that “the

affirmative vote of 4 members of the Commission shall be required in order for the Commission

to: (i) initiate, defend, or appeal of any civil action; (ii) render an advisory opinion; (iii) develop

prescribed forms and make, amend, and repeal regulations; and (iv) conduct investigations and

hearings expeditiously and to report apparent violations to the appropriate law enforcement

authorities. Id. § 30106(c); 30107(a)(6)–(9).

       After the FEC receives a written complaint alleging that someone has violated the FECA,

the agency’s General Counsel “may recommend to the Commission whether or not it should find

reason to believe that a respondent has committed or is about to commit a violation of statutes or

regulations over which the Commission has jurisdiction.” 11 C.F.R. § 111.7(a). The FEC will




                                                  12
      Case 1:21-cv-02887-LLA           Document 83        Filed 03/07/25      Page 19 of 27




typically vote on the General Counsel’s recommendations. In order to conduct an investigation,

the FEC must “by an affirmative vote of 4 of its members” determine that there is “reason to

believe that a person has committed, or is about to commit, a violation of th[e] Act.” 52 U.S.C.

§ 30109(a)(2); 11 C.F.R. § 111.9(a). “If four of the six Commissioners conclude there is reason to

believe a violation was committed, a full FEC investigation commences. Conversely, if there are

fewer than four votes, the FEC dismisses the administrative complaint.” Crossroads Grassroots

Policy Strategies v. FEC, 788 F.3d 312, 315 (D.C. Cir. 2015). Thus, if four Commissioners do not

vote to find “reason to believe,” the Commission cannot proceed with an investigation and the

matter is dismissed. See, e.g., Public Citizen, Inc. v. FERC, 839 F.3d 1165, 1170 (D.C. Cir. 2016)

(“the statute compels FEC to dismiss complaints in deadlock situations”). FEC regulations require

that “[i]f the Commission finds no reason to believe, or otherwise terminates its proceedings, the

General Counsel shall so advise both complainant and respondent by letter.” 11 C.F.R. § 111.9(b).

       Under the FECA, when a “reason to believe” vote is not supported by four Commissioners,

consideration of the matter necessarily ends. How the formality of dismissal is occasioned when

the Commissioners are deadlocked has been the subject of debate, but for purposes of this

litigation, the D.C. Circuit’s description of the FEC’s voting process in 45Committee is controlling.

For most of the FEC’s history, when the Commissioners deadlocked and there were not four votes

to find “reason to believe,” Commissioners recognized that the proceedings had come to an end

and unanimously voted to “close the file.” This vote was an acknowledgment that no further action

was possible and served to instruct agency staff to notify the parties involved of the matter’s

disposition and prepare the case file for placement on the public record. For a brief period that

included 2021, however, certain Commissioners strategically voted against motions to “close the

file” in several deadlocked cases as a way to keep the Commission’s consideration of certain




                                                 13
      Case 1:21-cv-02887-LLA           Document 83        Filed 03/07/25      Page 20 of 27




complaints undisclosed so that “failure to act” citizen suits could be initiated, which is precisely

what happened in this litigation. See generally Heritage Action for Am. v. FEC, 682 F. Supp. 3d

62, 69, 71 (D.D.C. 2023) (describing historic practice of closing the file and “evidence that certain

Commissioners approached these questions purposefully and strategically”), aff’d No. 23-7107,

2025 U.S. App. LEXIS 1069 (D.C. Cir. Jan. 15, 2025) (unpublished per curiam opinion). The

Commissioners who voted to find “reason to believe” and pursue the administrative complaints

broke with longstanding agency precedent when they voted against motions to “close the file” after

the Commissioners deadlocked, and the result has been years of unnecessary litigation and wasted

judicial resources.

       B. The D.C. Circuit’s Decisions in 45Committee and Heritage Action

       Per the Court’s order, this memorandum addresses the holdings in Campaign Legal Ctr. v.

45Committee, Inc., 118 F.4th 378 (D.C. Cir. 2024) as they pertain to the present case. The

litigation in 45Committee similarly involved multiple deadlocked reason-to-believe votes by the

FEC, failed votes to close the file, and a “contrary to law” lawsuit in response. The FEC failed to

appear in the lawsuit and the court entered a default judgment. 45Committee, 118 F.4th at 384.

The FEC subsequently held a reason-to-believe (“RTB”) vote within thirty days of the district

court’s decision. Id. at 389–90. That RTB vote “failed to garner the four votes necessary to either

find reason to believe (and thus initiate an investigation) or find no reason to believe (and thus

dismiss the complaint).” Id. at 390. The FEC then “voted later that same day on dismissing the

complaint [i.e., to close the file], that vote, too, failed to gain a majority,” meaning the

administrative complaint remained on the agency’s enforcement docket notwithstanding the failed

reason-to-believe vote. Id.




                                                 14
      Case 1:21-cv-02887-LLA          Document 83        Filed 03/07/25      Page 21 of 27




       After a citizen suit was filed against 45Committee, Inc., “the parties and the district court

obtained previously unreleased records” demonstrating that “within the thirty-day period after the

contrary-to-law order issued … the Commission held a reason-to-believe vote.” Id. at 384–85.

The district court “held that the vote counted as acting on the complaint, meaning the Commission

had conformed with the contrary-to-law decision arising from a failure to act within thirty days,

precluding the bringing of a citizen suit,” and dismissed the citizen suit. Id. at 385. The district

court concluded that the FEC’s deadlocked reason-to-believe vote “constitute[d] agency ‘action’”

and was “unquestionably a conforming ‘action,’” and dismissed the citizen suit. Campaign Legal

Center v. 45Committee, Inc., 666 F. Supp. 3d 1, 6 (D.D.C. 2023).

       The question on appeal was whether the FEC conformed to the court’s order when it held

a (failed) reason-to-believe vote? The D.C. Circuit upheld the district court’s determinations and

explained:

       [W]hen a complainant brings a contrary-to-law suit based on a failure by the
       Commission to act at all on a pending complaint, the Commission’s conduct of a
       reason-to-believe vote would conform with a decision finding that its failure to act
       was contrary to law. Whether the vote succeeds or fails does not matter: a reason-
       to-believe vote that fails 3-3 or 0-6, or one that succeeds 4-2 or 5-1, are all
       equivalent for purposes of conforming with the failure-to-act decision. That is
       because what the contrary-to-law plaintiff claims as the reason for her
       “aggrieve[ment],” 52 U.S.C. § 30109(a)(8), is not the Commission’s failure to vote
       in favor of finding reason to believe, but instead is the Commission’s failure to hold
       such a vote at all. FECA entitles her, through a contrary-to-law action, to compel
       the Commission’s engagement with the merits of her administrative complaint
       through such a vote; it does not entitle her to a particular vote outcome.

Id. at 391–92.

       Additionally, the D.C. Circuit concluded that “the district court was nonetheless not bound

to stick with the contrary-to-law court’s conclusion that the preconditions were satisfied.” Id. at

386 (emphasis added). The D.C. Circuit rejected the appellant’s argument “that, following a

contrary-to-law suit resulting from a failure to act, only a majority-supported decision can count



                                                15
      Case 1:21-cv-02887-LLA           Document 83        Filed 03/07/25      Page 22 of 27




as conforming action.” Id. at 390. Rather, the D.C. Circuit concluded that a taking a reason-to-

believe vote constitutes conformance with the court’s order “regardless of the vote’s outcome.”

Id. Conforming with the court’s order requires “at least some cognizable enforcement step under

the statute, and holding a reason-to-believe vote counts as such a step.” Id. In other words, the

plaintiff “can compel the action that, had it been performed, would have left her without the ability

to bring (or win) her contrary-to-law suit,” and in a contrary-to-law suit alleging failure to act by

the Commission, a reason-to-believe vote is such action. Id.

       C. Application of 45Committee To This Case

       The holding of 45Committee is that even a failed reason-to-believe vote is an “act,” as well

as a conforming act, under 52 U.S.C. §§ 30109(a)(8)(A) and (C), respectively. In this case, the

FEC responded to the district court’s order to conform by voting, within 30 days of the court’s

order, on a motion to “close the file.” During the November 1, 2021, video status conference, FEC

counsel explained that the Commissioners “took the matters up in the next executive session on

October 26th,” and “there were no apparent changes in [their] positions.” As a result, “[t]he

Commissioners took an additional vote on whether to close the file. That vote did not pass. There

were two in favor, three opposed and one Commissioner recused.” Hr’g Tr., Giffords v. FEC, No.

1:19-cv-1192-EGS (D.D.C. Nov. 15, 2021), ECF No. 78 at 6-7. The remainder of the transcript

suggests that the court believed the question of whether the FEC had conformed could be litigated

subsequently, and FEC counsel made no effort to argue that his client had in fact conformed with

the court’s order by taking another vote within the required 30-day period.

       Accordingly, Plaintiff has not satisfied the statutory preconditions for bringing this lawsuit

directly against the administrative respondents. The FEC took four votes on the administrative

complaints in 2021, and two more votes in 2022. A direct citizen suit may be brought only after




                                                 16
      Case 1:21-cv-02887-LLA           Document 83         Filed 03/07/25      Page 23 of 27




the District Court “declare[s] that the dismissal of the complaint or the failure to act is contrary to

law,” and the FEC fails to conform to the court’s order within 30 days, pursuant to 52 U.S.C. §

30109(a)(8)(C). Under 45Committee, the FEC both “acted” on the administrative complaints on

February 9 and 21, 2021, and conformed to the district court’s order when it voted again on

October 26, 2021, within 30 days of September 30, 2021. The administrative record demonstrates

that the FEC “acted” on the complaints in 2021, and had never “failed to act” for purposes of 52

U.S.C. § 30109(a)(8)(A), but nevertheless, the FEC conformed to the district court’s order by

acting again in October 2021 after being ordered to do so. Accordingly, the two statutory

preconditions necessary for this litigation are not met.

       The D.C. Circuit has now removed any questions that may have existed in November 2021

about the proper application of FECA to the facts at hand. For purposes of Section 30109(a)(8)(A),

the FEC did not “fail to act” on the administrative complaints. As the Court explained, “to ‘act’

on a pending complaint, in this context, means to take some enforcement step recognized by the

statute” while “a failure by the Commission to act at all on a pending complaint means a failure to

take some cognizable enforcement step under the statute in response to the complaint. And holding

a reason-to-believe vote is such a step.” Id. at 391. Under this standard, the FEC “acted” on the

administrative complaints on February 9, 2021, and again on February 23, 2021 when it voted on

reason-to-believe motions and a motion to close the file. After the district court issued its order to

conform, the FEC “acted” when it again considered the complaints and voted on a motion to close

the file. In 45Committee, the D.C. Circuit construed the FEC’s practice of voting to close the file

when it is deadlocked as a vote to “dismiss[] a complaint without rendering a four-vote decision

on its merits.” Id. at 382. A vote to dismiss is unquestionably a “cognizable enforcement step” that

constitutes “action” for purposes of conforming with the court’s order. Under 45Committee, the




                                                  17
      Case 1:21-cv-02887-LLA            Document 83         Filed 03/07/25       Page 24 of 27




district court’s order authorizing the filing of this lawsuit is not preclusive if this court determines

that authorization to file the citizen suit was erroneously granted, or that subsequent D.C. Circuit

decisions now require a different result.

        Following 45Committee, the D.C. Circuit issued an unpublished per curiam decision in

January 2025 in another matter after finding “[t]he merits of the parties’ positions … so clear as to

warrant summary action.” As the Court explained:

        On March 25, 2022, the district court ordered the FEC to act on Campaign Legal
        Center’s administrative complaint within 30 days. On April 7, 2022, the FEC voted
        on whether there was reason to believe the administrative complaint’s allegations
        that a violation of the Federal Election Campaign Act had been committed. By
        holding the votes, the FEC complied with the district court’s March 22, 2022 order.
        . . . Accordingly, the preconditions to filing a citizen suit were not satisfied. Because
        those preconditions are not jurisdictional, the district court’s order is affirmed on
        the ground that Campaign Legal Center failed to state a claim.

Campaign Legal Center v. Heritage Action for Am., No. 23-7107, 2025 U.S. App. LEXIS 1069

(Jan. 15, 2025) (unpublished per curiam opinion). In all relevant respects, the facts of this matter

also mirror those in Heritage Action. In Heritage Action, the FEC was ordered “to act” within 30

days, complied with the court’s order by considering and voting on the administrative complaint

within that time frame, and thus, the preconditions for filing a citizen suit were not met and the

case was dismissed for failure to state a claim. The same result should obtain here.

                                            CONCLUSION

        For the foregoing reasons, Defendant respectfully requests this Court grant its Motion to

Dismiss.




                                                   18
Case 1:21-cv-02887-LLA   Document 83    Filed 03/07/25    Page 25 of 27




                              Respectfully submitted March 7, 2025.

                              /s/Jason Torchinsky
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                                19
      Case 1:21-cv-02887-LLA       Document 83      Filed 03/07/25      Page 26 of 27




                              CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing was served to all

counsel of record through the Court’s CM/ECF system on March 7, 2025.



      /s/ Jason Torchinsky




                                            20
       Case 1:21-cv-02887-LLA       Document 83       Filed 03/07/25    Page 27 of 27




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 GIFFORDS,

 Plaintiff,

                v.                              Case No. 1:21-cv-2887-LLA

 NATIONAL RIFLE ASSOCIATION OF
 AMERICA POLITICAL VICTORY FUND,
 et al.

 Defendants.



                                   [PROPOSED] ORDER

        Upon consideration of Defendant Josh Hawley for Senate’s Motion to Dismiss, the Court

has determined that Defendant Josh Hawley for Senate’s Motion to Dismiss should be, and hereby

is, GRANTED with prejudice.



        SO ORDERED this XX day of XX, 2025.



                                                  ____________________________

                                                  [[JUDGE]]

                                                  United States District Judge
